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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



  COMMODITY FUTURES TRADING
  COMMISSION,
                                                     Civil Action No. 23-11808
                         Plaintiff,

           v.                                             ORDER OF SPECIAL MASTER

  TRADERS GLOBAL GROUP INC., et al.,

                         Defendants.


 LINARES, J.

         This matter having been brought before the Special Master by way of the parties’ joint

 request via email dated May 14, 2024 for a conference call with respect to Defendants’ pending

 Motion for Sanctions (“Motion”) (ECF 172); and Plaintiff Commodity Futures Trading

 Commission (“CFTC”) having filed a letter dated May 16, 2024 with respect to CFTC’s response

 to discovery requests issued by Defendants Traders Global Group Inc., a New Jersey corporation,

 d/b/a “My Forex Funds,” Traders Global Group Inc., a Canadian business organization, and

 Murtuza Kazmi (“Defendants”) and the evidentiary hearing scheduled for May 21, 2024; and the

 Special Master having held a status conference on May 17, 2024; and counsel for all parties

 appearing; and the Special Master finding that CFTC has raised a number of issues regarding the

 assertion of all applicable privileges in response to Defendants’ discovery requests and with

 respect to certain testimony at the evidentiary hearing, and that those issues should be fully briefed

 and joined before the Special Master prior to the evidentiary hearing on the Motion; and for the

 reasons set forth on the record during the status conference;




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         IT IS on this 17th day of May, 2024,

         ORDERED that the evidentiary hearing scheduled for May 21, 2024 has been adjourned;

 and it is further

         ORDERED that CFTC shall serve its privilege log with respect to communications

 between CFTC and the Ontario Securities Commission by May 30, 2024; and it is further

         ORDERED that the parties shall meet and confer within the next two weeks with respect

 to the scope of Defendants’ discovery requests and CFTC’s privilege log with respect to internal

 CFTC communications; if, as result of that meet and confer, there is a dispute regarding scope or

 the production of CFTC’s privilege log by May 30, 2024, the parties shall immediately raise such

 dispute with the Special Master; and it is further

         ORDERED that if no dispute is raised with the Special Master as set forth in the above

 paragraph, CFTC shall produce a privilege log with respect to CFTC internal communications by

 May 30, 2024; and it is further

         ORDERED that a status conference shall be held before the Special Master on May 31,

 2024 at 3:00 pm.

         SO ORDERED.

                                                __/s/ Jose L. Linares_______________________

                                                Hon. Jose L. Linares, U.S.D.J. (Ret.)




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